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                     IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF TEXAS
                               LUBBOCK DIVISION

CLINT LONG, INDIVIDUALLY, AND §
N/F OF C.L.                      §
                 Plaintiff,      §
                                 §
v.                               §
                                 §
JAYTON-GIRARD INDEPENDENT        §                No. 5:21-cv-111
SCHOOL DISTRICT, AND JOHNNY      §
TUB, IN HIS OFFICIAL CAPACITY AS §
SUPERINTENDENT OF JAYTON-        §
GIRARD INDEPENDENT SCHOOL        §
DISTRICT, AND LYLE LACKEY        §
                 Defendants.     §

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A.     05/06/2021    Plaintiffs’ Original Petition and Application for Temporary Restraining
                     Order and Injunction




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